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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RONALD C. KOLESAR,

              Plaintiff,                 20cv0166E
                                         LEAD CASE
                      v.

PACIFICA BEAUTY, LLC.,

              Defendant.



RONALD C. KOLESAR,

              Plaintiff,                 20cv0167E
                                         MEMBER CASE
                      v.

FIRST AID BEAUTY, LTD.,

              Defendant.

RONALD C. KOLESAR,

              Plaintiff,                 20cv0170 Erie
                                         MEMBER CASE
                      v.

AMIKA, LP.,

              Defendant.
RONALD C. KOLESAR,

              Plaintiff,                 20cv0171E
                                         MEMBER CASE
                      v.

COLORESCIENCE, INC.,

              Defendant.
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RONALD C. KOLESAR,

           Plaintiff,                    20cv0175 Erie
                                         MEMBER CASE
                   v.

LAGOS ONLINE, INC.,

           Defendant.




RONALD C. KOLESAR,

           Plaintiff,                    20cv0176 Erie
                                         MEMBER CASE
                   v.

IREDALE COSMETICS, INC.,

           Defendant.


RONALD C. KOLESAR, THOMAS KLAUS,

           Plaintiffs,                   20cv0179 Erie
                                         MEMBER CASE
                   v.

HAPPY SOCKS NORTH AMERICA, INC.,

           Defendant.
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RONALD C. KOLESAR,
                                         20cv0180 Erie
           Plaintiff,                    MEMBER CASE

                   v.

THE WILKES GROUP, INC.
doing business as
EVIAN FACIAL SPRAY,

           Defendant.



RONALD C. KOLESAR,

           Plaintiff,                    20cv0182 Erie
                                         MEMBER CASE
                   v.

SKYN ICELAND, LLC,

           Defendant.




THOMAS KLAUS, RONALD C. KOLESAR,

           Plaintiffs,                   20cv0190 Erie
                                         MEMBER CASE
                   v.

IM PRO MAKEUP NY, LP
doing business as
IL MAKIAGE,

           Defendant.
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RONALD C. KOLESAR, THOMAS KLAUS,

           Plaintiffs,                   20cv0191 Erie
                                         MEMBER CASE
                   v.

COSNOVA, INC.
d/b/a CATRICE COSMETICS.,

           Defendant.



THOMAS KLAUS, RONALD C. KOLESAR,

           Plaintiffs,                   20cv0192 Erie
                                         MEMBER CASE
                   v.

EFFY JEWELERS CORP.,

           Defendant.



ROBERT JAHODA,

           Plaintiff,                    20cv0986
                                         MEMBER CASE
                   v.

KT HEALTH, LLC.,

           Defendant.



ROBERT JAHODA,

           Plaintiff,                    20cv0995
                                         MEMBER CASE
                   v.

GRANDE COSMETICS, LLC.,

           Defendant.
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RONALD C. KOLESAR,

          Plaintiff,                    20cv1007
                                        MEMBER CASE
                  v.

CURRENT MEDIA GROUP, LLC.
doing business as
LILLIAN VERNON, LLC.,

          Defendant.

ROBERT JAHODA,

          Plaintiff,                    20cv1013
                                        MEMBER CASE
                  v.

THE WEBSTAURANT STORE, INC.,

          Defendant.

ROBERT JAHODA,

          Plaintiff,                    20cv1021
                                        MEMBER CASE
                  v.

DELUXE CORPORATION,

          Defendant.

ROBERT JAHODA,

          Plaintiff,                    20cv1022
                                        MEMBER CASE
                  v.

DELUXE CORPORATION,

          Defendant.
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ROBERT JAHODA,

             Plaintiff,                             20cv1024
                                                    MEMBER CASE
                     v.

MPUSA, LLC,

             Defendant.



ROBERT JAHODA,

             Plaintiff,                             20cv1025
                                                    MEMBER CASE
                     v.

THE NATORI COMPANY, INC.
doing business as
JOSIE NATORI BOUTIQUE,

             Defendant.




                          CONSOLIDATION ORDER OF COURT

    IT IS HEREBY ORDERED that the parties shall proceed as follows:

    1.      Civil Action Nos. 20-167E, 20-170E, 20-171E, 20-175E, 20-176E, 20-179E, 20-

            180E, 20-182E, 20-190E, 20-191E, 20-192E, 20-986, 20-995, 20-1007, 20-1013,

            20-1021, 20-1022, 20-1024 and 20-1025 are hereby consolidated with Civil

            Action No. 20-166 Erie, the lead case as captioned above.

    1.      All pleading, motions, and other papers hereafter filed shall be filed at Civil

            Action No. 20-166 Erie.
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2.      The Clerk of Court shall close Civil Action Nos. 20-167E, 20-170E, 20-171E, 20-

        175E, 20-176E, 20-179E, 20-180E, 20-182E, 20-190E, 20-191E, 20-192E, 20-

        986, 20-995, 20-1007, 20-1013, 20-1021, 20-1022, 20-1024 and 20-1025




                                    SO ORDERED this 21st day of July, 2020.

                                    s/Arthur J. Schwab
                                    Arthur J. Schwab
                                    United States District Judge
